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      AO 245B-CAED (Rev. 09/2019) Sheet 1 - Judgment in a Criminal Case



                                  UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                     UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                v.                                          Case Number: 2:22CR00220-1
                      JEFFREY ALAN WASSON                                   Defendant's Attorney: Etan Zaitsu
                            AKA: Jeffrey Alan Vadney
      THE DEFENDANT:
           pleaded guilty to count(s) 1 of the Superseding Information.
           pleaded nolo contendere to count(s)      , which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      The defendant is adjudicated guilty of these offenses:
      Title & Section                   Nature of Offense                                                       Offense Ended     Count
       18 USC § 641                         Theft of Government Property                                        April 2018        1

             The defendant is sentenced as provided in pages 2 through       of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      .
           Count(s)      dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                      Appeal rights waived.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
      residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
      ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
      circumstances.
                                                                            3/29/2023
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judicial Officer
                                                                            Kendall J. Newman, United States Magistrate Judge
                                                                            Name & Title of Judicial Officer
                                                                            4/3/2023
                                                                            Date




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      AO 245B-CAED (Rev. 09/2019) Sheet 4 - Probation
      DEFENDANT: JEFFREY ALAN WASSON                                                                                                  Page 2 of 5
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                                                            COURT PROBATION
       The defendant is hereby sentenced to unsupervised court probation for a term of:
       60 months. Defendant's probation shall terminate upon full payment of restitution and all other legal financial obligation..

                                                        MANDATORY CONDITIONS
       You must not commit another federal, state or local crime.
       You must not unlawfully possess a controlled substance, including medicinal marijuana.
       You must refrain from any unlawful use of controlled substance, including medicinal marijuana.
       You must notify the U.S. Attorney's Office within seventy-two hours of being arrested.
       You must notify the U.S. Attorney's Office ten days prior to any change in residence.
       Upon full payment of all legal financial obligations, defendant shall file a motion for termination of probation with accompanying
       proof of payment with the Court.

            The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
            abuse.

            You must cooperate in the collection of DNA as directed by the probation officer.

            You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense.

            You must participate in an approved program for domestic violence.

            You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.

       You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
       If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
       You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
       fines, or special assessments.

       You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
       attached page.




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      AO 245B-CAED (Rev. 09/2019) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT: JEFFREY ALAN WASSON                                                                                                    Page 3 of 5
      CASE NUMBER: 2:22CR00220-1

                                                    CRIMINAL MONETARY PENALTIES

              The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

               TOTALS
               Processing Fee              Assessment            AVAA Assessment*                 JVTA Assessment**      Fine     Restitution
                                              $25                                                                        $500     $35,486.43
            The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

            The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

      *** See next page for list ***
            Restitution amount ordered pursuant to plea agreement $ 35,486.43

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                   The interest requirement is waived for the                fine         restitution

                   The interest requirement for the               fine         restitution is modified as follows:


            If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10%
            of the defendant’s gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau
            of Prisons Inmate Financial Responsibility Program.

            Other:
       * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
       ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
       *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
       committed on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED (Rev. 09/2019) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT: JEFFREY ALAN WASSON                                                                                          Page 4 of 5
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       Name of Payee                                            Total Loss***    Restitution Ordered Priority or Percentage
       Sierra Nevada VA Health Care System
       Attn: Elyse Branigan- Agent Cashier (Room
       C1294)
       975 Kirman Avenue                                            $35,486.43            $35,486.43
       Reno NV, 89502
       VA OIG Case (Reference) Number: 2018-
       02009-IF-0111-VADNEY
       Totals                                                       $35,486.43            $35,486.43




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      AO 245B-CAED (Rev. 09/2019) Sheet 6 - Schedule of Payments
      DEFENDANT: JEFFREY ALAN WASSON                                                                                                       Page 5 of 5
      CASE NUMBER: 2:22CR00220-1

                                                            SCHEDULE OF PAYMENTS
              Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

       A.              Lump sum payment of $            due immediately, balance due
                                 Not later than      , or
                                 in accordance              C,      D,         E,or          F below; or
       B.              Payment to begin immediately (may be combined with               C,          D,       or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of       (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at
                       that time; or

       F.              Special instructions regarding the payment of criminal monetary penalties:

       If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10% of the
       defendant's gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau of Prisons
       Inmate Financial Responsibility Program.

       The defendant shall make payments toward any unpaid criminal monetary penalties in this case during supervision at the rate of at
       least 10% of your gross monthly income. Payments are to commence no later than 60 days from placement on supervision. This
       payment schedule does not prohibit the United States from collecting through all available means any unpaid criminal monetary
       penalties at any time, as prescribed by law.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
               Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
       assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
       including cost of prosecution and court costs.




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